                Case 3:21-cv-05081-RHW Document 8 Filed 10/25/21 Page 1 of 2




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 4
 5                        UNITED STATES DISTRICT COURT
 6                       WESTERN DISTRICT OF WASHINGTON
 7
      Armand R. Calhoun,
 8                                                 NO: 3:21-CV-5081-RHW
 9                              Plaintiff,
                                                   ORDER REJECTING PLAINTIFF’S
10          v.                                     FILING IN ECF NO. 7
11
      U.S. District Judge Benjamin H. Settle,
12
13                              Defendant.
14
15         Plaintiff, Armand Calhoun, has filed a one-page document under this case
16
     number whereby the named defendant has been changed and the caption reads
17
18   “NEGLIGENCE, BREACH OF DUTY; VIOLATION OF ARTICLE 1 § 10
19
     CL.3.” ECF No. 7. The filing does not comport with the local civil rules for filing a
20
21   pleading or motion, and Plaintiff’s request to this Court is indecipherable. The case
22   has been closed since April 15, 2021. Accordingly, the Court REJECTS the filing.
23
     It will not be considered by the Court.
24
25         IT IS HEREBY ORDERED:
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           1.      Plaintiff’s notice, ECF No. 7 is REJECTED.
27
28


     ORDER REJECTING ECF No. 7 ~ 1
               Case 3:21-cv-05081-RHW Document 8 Filed 10/25/21 Page 2 of 2




 1           IT IS SO ORDERED. The District Court Executive is directed to enter this
 2   Order, STRIKE ECF No. 7 from the docket, and provide a copy to Plaintiff by
 3
     email at armand_calhoun@yahoo.com and by mail at:
 4
 5           Armand R. Calhoun
 6           Box 298, 1402 Auburn Way North
             Auburn, WA 98002
 7
 8           DATED this 25th day of October, 2021.
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11
                                                   s/ Robert H. Whaley
12                                                  Robert H. Whaley
13                                           United States District Court Judge *
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28   *
         Sitting by Designation from the Eastern District of Washington


     ORDER REJECTING ECF No. 7 ~ 2
